            20-12256-mg            Doc 1           Filed 09/21/20 Entered 09/21/20 23:11:28                                  Main Document
                                                                Pg 1 of 20
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________             New York
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                            Check if this is an
                                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Aviacorp Enterprises S.A.
                                           ______________________________________________________________________________________________________


                                            N/A
2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
     Include any assumed names,            ______________________________________________________________________________________________________
     trade names, and doing business       ______________________________________________________________________________________________________
     as names
                                           ______________________________________________________________________________________________________



3.   Debtor’s federal Employer              N/A
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            c/o Alfaro, Ferrer & Ramirez; AFRA Building                 _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                            Samuel Lewis Avenue and 54th Street
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Panama                             0816-0185
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Republic of Panama
                                           ______________________________________________
                                           Country                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://avianca.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           ✘ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
                                                                                                                 American LegalNet, Inc.
                                                                                                                 www.FormsWorkFlow.com
              20-12256-mg               Doc 1     Filed 09/21/20 Entered 09/21/20 23:11:28                                Main Document
                                                               Pg 2 of 20
Debtor
                 Aviacorp Enterprises S.A.                                                        Case number (if known)_____________________________________
                ________________________________________
                _______________________________________________________


                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           ✘ None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 4 ___
                                                ___ 8 ___
                                                       1 ___
                                                          1
8.    Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           
                                           ✘ Chapter 11. Check all that apply:
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12

9.    Were prior bankruptcy cases          
                                           ✘ No
      filed by or against the debtor
      within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a                                                                                                 Affiliate
      business partner or an               
                                           ✘ Yes.             See attached Schedule 1
                                                      Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                                Southern District of New York
                                                      District _____________________________________________ When
                                                                                                                                  05/10/2020
                                                                                                                                 __________________
      List all cases. If more than 1,                                                                                            MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 2
                                                                                                                       American LegalNet, Inc.
                                                                                                                       www.FormsWorkFlow.com
             20-12256-mg           Doc 1       Filed 09/21/20 Entered 09/21/20 23:11:28                                 Main Document
                                                            Pg 3 of 20
Debtor
                Aviacorp Enterprises S.A.                                                     Case number (if known)_____________________________________
                ________________________________________
                _______________________________________________________
                Name




11.   Why is the case filed in this      Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         
                                         ✘ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have        
                                         ✘ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                     Other _______________________________________________________________________________



                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________          _______    ________________
                                                                            City                                             State      ZIP Code


                                                  Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________

                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




             Statistical and administrative information



13.   Debtor’s estimation of             Check one:
      available funds                    
                                         ✘ Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                            1,000-5,000                             
                                                                                                                    ✘ 25,001-50,000
14.   Estimated number of                 50-99                           5,001-10,000                             50,001-100,000
      creditors
                                          100-199                         10,001-25,000                            More than 100,000
      (on a consolidated basis)           200-999

                                          $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                    $50,001-$100,000                $10,000,001-$50 million                 
                                                                                                                    ✘ $1,000,000,001-$10 billion
      (on a consolidated basis)           $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                                                                                                              American LegalNet, Inc.
                                                                                                              www.FormsWorkFlow.com
              20-12256-mg          Doc 1        Filed 09/21/20 Entered 09/21/20 23:11:28                                  Main Document
                                                             Pg 4 of 20
Debtor
                 Aviacorp Enterprises S.A.                                                      Case number (if known)_____________________________________
                ________________________________________
                _______________________________________________________
                Name



                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities               $50,001-$100,000                   $10,000,001-$50 million                 
                                                                                                                       ✘ $1,000,000,001-$10 billion
      (on a consolidated basis)           $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


              Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                             petition.
      debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          09/21/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Adrian Neuhauser
                                             _____________________________________________
                                                                                                         Adrian Neuhauser
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                   Authorized Signatory
                                             Title _________________________________________




18.   Signature of attorney
                                          /s/ Evan R. Fleck
                                             _____________________________________________              Date          09/21/2020
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM    / DD / YYYY


                                             Evan R. Fleck
                                             _________________________________________________________________________________________________
                                             Printed name
                                             Milbank LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                             55                Hudson Yards
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              New York
                                             ____________________________________________________           NY
                                                                                                            ____________
                                                                                                                             10001
                                                                                                                         ______________________________
                                             City                                                           State        ZIP Code

                                             (212) 530-5000
                                             ____________________________________
                                                                                                               efleck@milbank.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address


                                             4012662                                                         NY
                                             ______________________________________________________ ____________
                                             Bar number                                             State




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                                                                                                               American LegalNet, Inc.
                                                                                                               www.FormsWorkFlow.com
  20-12256-mg       Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28             Main Document
                                         Pg 5 of 20




                                        SCHEDULE 1

                    Pending Bankruptcy Cases Filed by the Debtor
                             and Affiliates of the Debtor

       On the date hereof, each of the entities listed below filed a voluntary petition for relief
under chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court for
the Southern District of New York (the “Court”). A motion will be filed with the Court
requesting that the chapter 11 cases of these debtors and the affiliated entities identified below be
consolidated for procedural purposes only and jointly administered pursuant to Rule 1015(b) of
the Federal Rules of Bankruptcy Procedure with the Initial Debtors Cases (as hereinafter
defined).

       1. AV Loyalty Bermuda Ltd.                       2. Aviacorp Enterprises S.A.

       On May 10, 2020, each of the entities listed below filed a voluntary petition for relief
under chapter 11 of title 11 of the United States Code in the Court (the “Initial Debtors Cases”).
The Initial Debtors Cases have been consolidated for procedural purposes only and are
being jointly administered under Avianca Holdings S.A., Case Number 20-11133 (MG).

      1. Aero Transporte de Carga Unión, S.A. de        21. Avifreight Holding Mexico, S.A.P.I. de
          C.V.                                               C.V.
      2. Aeroinversiones de Honduras, S.A.              22. C.R. Int’l Enterprises, Inc.
      3. Aerovías del Continente Americano S.A.         23. Grupo Taca Holdings Limited
          Avianca                                       24. International Trade Marks Agency Inc.
      4. Airlease Holdings One Ltd.                     25. Inversiones del Caribe, S.A.
      5. America Central (Canada) Corp.                 26. Isleña de Inversiones, S.A. de C.V.
      6. America Central Corp.                          27. Latin Airways Corp.
      7. AV International Holdco S.A.                   28. Latin Logistics, LLC
      8. AV International Holdings S.A.                 29. Nicaraguense de Aviación, Sociedad
      9. AV International Investments S.A.                  Anónima (Nica, S.A.)
      10. AV International Ventures S.A.                30. Regional Express Américas S.A.S.
      11. AV Investments One Colombia S.A.S.            31. Ronair N.V.
      12. AV Investments Two Colombia S.A.S.            32. Servicio Terrestre, Aereo y Rampa S.A.
      13. AV Taca International Holdco S.A.             33. Servicios Aeroportuarios Integrados SAI
      14. Avianca Costa Rica S.A.                           S.A.S.
      15. Avianca Holdings S.A.                         34. Taca de Honduras, S.A. de C.V.
      16. Avianca Leasing, LLC                          35. Taca de México, S.A.
      17. Avianca, Inc.                                 36. Taca International Airlines S.A.
      18. Avianca-Ecuador S.A.                          37. Taca S.A.
      19. Aviaservicios, S.A.                           38. Tampa Cargo S.A.S.
      20. Aviateca, S.A.                                39. Technical and Training Services, S.A. de
                                                             C.V.



44810.00006
 20-12256-mg          Doc 1      Filed 09/21/20 Entered 09/21/20 23:11:28                Main Document
                                              Pg 6 of 20



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
AVIACORP ENTERPRISES S.A.,                                       :   Case No. 20-_____(__)
                                                                 :
                                    Debtor.                      :   (Joint Administration Requested)
                                                                 :
-----------------------------------------------------------------x

               CORPORATE OWNERSHIP STATEMENT PURSUANT
        TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are corporations, other than a governmental unit, that directly or indirectly own 10% or

more of any class of the debtor’s equity interests:

                   Shareholder                           Approximate Percentage of Equity Interest
                                                                             Held
 Taca S.A.                                                                 100.0%
 AV Taca International Holdco S.A.                     Holds 100.0% of the equity interest of Taca S.A.
 Grupo Taca Holdings Limited                           Holds 100.0% of the equity interest of AV Taca
                                                       International Holdco S.A.
 AV International Ventures S.A.                        Holds 100.0% of the equity interest of Grupo
                                                       Taca Holdings Limited
 AV International Holdco S.A.                          Holds 100.0% of the equity interest of AV
                                                       International Ventures S.A.
 Avianca Holdings S.A.                                 Holds 100.0% of the equity interest of AV
                                                       International Holdco S.A.
 Kingsland Holdings Limited                            Holds 21.9% of the equity interest of Avianca
                                                       Holdings S.A.
 BRW Aviation LLC                                      Holds 78.1% of the equity interest of Avianca
                                                       Holdings S.A.




                                                                                                        44810.00006
    20-12256-mg       Doc 1      Filed 09/21/20 Entered 09/21/20 23:11:28                Main Document
                                              Pg 7 of 20



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
AVIACORP ENTERPRISES S.A.,                                       :   Case No. 20-_____ (__)
                                                                 :
                                    Debtor.                      :   (Joint Administration Requested)
                                                                 :
-----------------------------------------------------------------x

              LIST OF CREDITORS HOLDING LARGEST SECURED CLAIMS

         The following is a list of those creditors holding the largest secured claims against the

debtor, as of September 1, 2020. This list has been prepared from the books and records of the

debtor for filing in the debtor’s chapter 11 case.

         The information set forth herein shall not constitute an admission of liability by, nor is

binding on, the debtor and the failure to list a claim as contingent, disputed or subject to set off

shall not be a waiver of any of the debtor’s rights relating thereto.


                Creditor / Address                     Claim Amount         Debt Type         Description of
                                                                                               Collateral
     UMB Bank, N.A.
1    Marilee Sobieski                                 Approx.              Long Term       LifeMiles equity;
     6550 S. Millrock Drive, Suite 150                $325,000,000         Debt            credit card
     Salt Lake City, UT 84121                                                              receivables;
     Tel: 385-715-3013                                                                     fiduciary
     Email: corptrustutah@umb.com                                                          agreement
     Marilee.Sobieski@umb.com
     UMB Bank, N.A.
2    Marilee Sobieski                                 Approx.              Notes           LifeMiles equity;
     6550 S. Millrock Drive, Suite 150                $50,000,000                          credit card
     Salt Lake City, UT 84121                                                              receivables;
     Tel: 385-715-3013                                                                     fiduciary
     Email: corptrustutah@umb.com                                                          agreement
     Marilee.Sobieski@umb.com

     c/o Citadel Advisors LLC
     601 Lexington Avenue



                                                      44810.00006
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 8 of 20




         Creditor / Address           Claim Amount   Debt Type     Description of
                                                                    Collateral
 New York, NY 10022
 Attn: Jonathan Hartofilis
 Email: Jon.Hartofilis@citadel.com
 CitadelAgreementNotice@citadel.com




                                       2
              20-12256-mg             Doc 1      Filed 09/21/20 Entered 09/21/20 23:11:28                             Main Document
                                                              Pg 9 of 20
 Fill in this information to identify the case and this filing:


                Aviacorp Enterprises S.A.
 Debtor Name ________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


         ✔
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         ✔
               Other document that requires a
                                              Corporate Ownership Statement, Top Secured Creditors                        List
               declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    09/21/2020
        Executed on ______________                         8 /s/ Adrian Neuhauser
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Adrian Neuhauser
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                  20-12256-mg              Doc 1         Filed 09/21/20 Entered 09/21/20 23:11:28                                             Main Document
                                                                      Pg 10 of 20
      Fill in this information to identify the case:

      Debtor name Aviacorp Enterprises S.A.
      United States Bankruptcy Court for the: __Southern_______ District of New York
                                                                                    (State)                                        Check if this is an
      Case number (If known):                                                                       .                               amended filing




    Official Form 204

    Chapter 11: List of Creditors Who Have the 40 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                12/15

    A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
    claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
    resulting from inadequate collateral value places the creditor among the holders of the 40 largest unsecured claims.


                                                                                                                                                Amount of unsecured claim
                                                                                                                                         If the claim is fully unsecured, fill in only
                                                                                          Nature of the claim                          unsecured claim amount. If claim is partially
                                                                                          (for example, trade         Indicate if          secured, fill in total claim amount and
Name of creditor and complete               Name, telephone number, and                    debts, bank loans,          claim is        deduction for value of collateral or setoff to
 mailing address, including zip               email address of creditor                       professional           contingent,                 calculate unsecured claim.
             code                                      contact                               services, and          unliquidated,
                                                                                                                                             Total      Deduction       Unsecured
                                                                                              government             or disputed
                                                                                                                                           claim, if        for           claim
                                                                                               contracts)
                                                                                                                                           partially     value of
                                                                                                                                           secured     collateral or
                                                                                                                                                          setoff
1        GRUPO TACA                   The Winterbotham Trust Company
         HOLDINGS LIMITED.            Limited renders the corporate services
                                      in connection with this entity. Contact
         Legal address:               details:
         registered office at
         Winterbotham Place,          Diego Castro Cardozo | Senior
                                                                                        Intercompany claim                                                             USD 900,000
         Marlborough & Queen          Administrator
         Streets, Po.O Box N-         Corporate Services - MVD
         3026, Nassau, The            montevideo@winterbotham.com |
         Bahamas                      dcastro@winterbotham.com
                                      Tel: (598) 2601 6544
                                      Fax: (598) 2601 7614
2




3




4




5




    Official Form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims
    44810.00006
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 11 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 12 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 13 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 14 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 15 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 16 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 17 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 18 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 19 of 20
20-12256-mg   Doc 1   Filed 09/21/20 Entered 09/21/20 23:11:28   Main Document
                                   Pg 20 of 20
